Case 1:21-cv-04400-HG-RML Document 67 Filed 06/08/22 Page 1 of 2 PageID #: 5114




             TELEPHONE: 1-212-558-4000
                                                                          125 Broad Street
              FACSIMILE: 1-212-558-3588
                WWW.SULLCROM.COM                                    New York, New York 10004-2498
                                                                                       ______________________


                                                                        LOS ANGELES • PALO ALTO • WASHINGTON, D.C.

                                                                         BRUSSELS • FRANKFURT • LONDON • PARIS

                                                                               BEIJING • HONG KONG • TOKYO

                                                                                   MELBOURNE • SYDNEY




                                                                       June 8, 2022

       By ECF

       The Honorable Hector Gonzalez
       United States District Court Judge
       U.S. District Court for the Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, New York 11201

                        Re:        Request for Oral Argument, Wildman v. Deutsche Bank
                                   Aktiengesellschaft, et al., No. 21 Civ. 4400 (E.D.N.Y.)
                                   (HG) (RML)

       Dear Judge Gonzalez:

                     I represent defendants Standard Chartered Bank, Standard Chartered PLC,
       and Standard Chartered Bank (Pakistan) (collectively, “SCB Defendants”) in the above-
       captioned matter, and I write on behalf of my clients to request oral argument on the SCB
       Defendants’ pending Motion to Dismiss the Amended Complaint.

                      As Your Honor was advised in the May 31, 2022 Letter filed on behalf of
       the SCB Defendants and the other defendants that have appeared in this matter (Danske
       Bank A/S, Danske Markets Inc., Deutsche Bank Aktiengesellschaft, Deutsche Bank Trust
       Company Americas, and Placid NK Corporation d/b/a Placid Express) (collectively,
       “Defendants”) (ECF No. 42), prior to the reassignment of this matter to Your Honor, the
       presiding judge, Judge Matsumoto, had held a pre-motion conference on December 7,
       2021 and set a briefing schedule whereby Defendants’ motions to dismiss would be due
       March 18, 2022; Plaintiffs’ oppositions would be due May 13, 2022; and Defendants’
       replies would be due June 3, 2022. (Dec. 7, 2021 Minute Entry.) Those papers have all
       been filed.

                      The SCB Defendants recognize that, per Your Honor’s Individual
       Practices, Your Honor directs that “[p]arties may request oral argument by noting “Oral
       Argument Requested” in their Notice of Motion or opposing memorandum[.]”
       (Individual Practices IV.C.) The SCB Defendants did not include such a request in their
       Notice of Motion because the SCB Defendants were following Judge Matsumoto’s
       Individual Practices, which state that “[a] party seeking oral argument on a motion shall
Case 1:21-cv-04400-HG-RML Document 67 Filed 06/08/22 Page 2 of 2 PageID #: 5115




        The Honorable Hector Gonzalez                                                              -2-


       file a separate letter, titled ‘Request for Oral Argument,’ at the time the fully-briefed
       motion is filed on ECF.” (Chamber Practices of Judge Kiyo Matsumoto III.E.)

                       Because the SCB Defendants intended to file a letter requesting oral
       argument consistent with Judge Matsumoto’s Individual Practices, the SCB Defendants
       respectfully request that Your Honor excuse the differences from your Individual
       Practices and accept this letter as the SCB Defendants’ timely request for oral argument
       on the SCB Defendants’ pending Motion to Dismiss the Amended Complaint.

                      Thank you for your consideration.

                                                              Respectfully submitted,



                                                              Andrew J. Finn


       cc:    All Counsel of Record (by ECF)
